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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION

 MARLON EUGENE McREYNOLDS,
                                                       )
                                         Petitioner,   )
                                                       )
        vs.                                            )      No. 1:14-cv-822-LJM-DKL
                                                       )             IP 99-59-CR-03-M/F
 UNITED STATES OF AMERICA,                             )
                                                       )
                                       Respondent.     )



                        Entry Dismissing Motion for Relief Pursuant to
                   28 U.S.C. § 2255 and Denying Certificate of Appealability

                                       I. The ' 2255 Motion

        A federal inmate seeking to set aside his conviction generally must do so under 28 U.S.C. §

 2255. See Morales v. Bezy, 499 F.3d 668, 670 (7th Cir. 2007). Marlon McReynolds has traveled

 that path with respect to his conviction for drug offenses in No. IP 99-59-CR-03-M/F. This

 occurred in a proceeding assigned to the civil docket as No. 1:03-cv-1360-LJM-VSS, which was

 dismissed with prejudice on April 21, 2004. This disposition was affirmed on appeal in

 McReynolds v. United States, 397 F.3d 479, 481 (7th Cir. 2005).

        A second or successive petition may only be considered by the sentencing court if the

 petitioner seeks an order from the appropriate court of appeals authorizing the district court to

 consider the application. 28 U.S.C. § 2244(3); see also 28 U.S.C. § 2255(h) (“A second or

 successive motion must be certified as provided in section 2244 by a panel of the appropriate court

 of appeals . . . .”). McReynolds has not claimed, and there is no indication, that he has obtained

 leave from the Court of Appeals to file a second or successive such petition. When there has

 already been a decision on the merits in a federal habeas action, to obtain another round of federal

 collateral review a petitioner requires permission from the Court of Appeals under 28 U.S.C. '

 2244(b). See Potts v. United States, 210 F.3d 770 (7th Cir. 2000).
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         Judgment consistent with this Entry shall now issue.

                                  II. Certificate of Appealability

         Pursuant to Federal Rule of Appellate Procedure 22(b), Rule 11(a) of the Rules Governing

 ' 2254 proceedings, and 28 U.S.C. ' 2253(c), the court finds that McReynolds has failed to show

 that reasonable jurists would find it Adebatable whether [this court] was correct in its procedural

 ruling.@ Slack v. McDaniel, 529 U.S. 473, 484 (2000). The court therefore denies a certificate of

 appealability.

         IT IS SO ORDERED.

                                                              ________________________________
                                                              LARRY J. McKINNEY, JUDGE
 Date:           06/03/2014                                   United States District Court
                                                              Southern District of Indiana

 Distribution:

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